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                          UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

 In Re:                                           Case No. 16-81388

 Jerry A Westerfield
 Denise L. Westerfield
                                                  Chapter 13
  aka Denise L Brodnax
  aka Denise L Quick

 Debtors.                                         Hon. Judge Thomas L. Perkins

                                 CERTIFICATE OF SERVICE

The undersigned does hereby certify that on September 23, 2021 a copy of the foregoing has
been duly electronically noticed to the following parties:

          Joel A Deutsch, Debtors’ Counsel
          deutschbankruptcy@gmail.com

          Marsha L Combs-Skinner, Chapter 13 Trustee
          trusteecs@danville13.com

          Office of the U.S. Trustee
          ustpregion10.pe.ecf@usdoj.gov

And deposited in the United States mail, postage prepaid, addressed to the following parties:

          Jerry A Westerfield, Debtor
          2216 25th Street
          Rock Island, IL 61201
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   Denise L. Westerfield, Debtor
   2216 25th Street
   Rock Island, IL 61201

                                          Respectfully Submitted,

                                          /s/ Molly Slutsky Simons
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